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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


BRIAN DUNNIGAN,                           )
                                          )
       Plaintiff                          )
                                          )
v.                                        )       1:19-cv-00450-GZS
                                          )
YORK COUNTY, et al.,                      )
                                          )
       Defendants                         )

                                PROCEDURAL ORDER

       On January 21, 2021, the Court conducted a telephonic conference with counsel to

discuss the status of the case. As discussed on the record and in accordance with the

parties’ agreement, the stay of the deadlines will continue until further order of the Court.

Unless the parties jointly request a telephonic conference by April 1, 2021, to discuss the

stay, and if Defendants want the stay to continue in effect, Defendants shall file a motion

to continue the stay on or before April 15, 2021. Whenever the stay is lifted, the Court will

convene a telephonic conference to establish a scheduling order to govern the future course

of the case.

       During the conference, Plaintiff raised an issue regarding his request for a copy of

the terms by which a county risk pool might provide coverage for Defendants for the claims

asserted by Plaintiff. Defendants maintain the terms are not discoverable. If the parties

cannot resolve the issue by April 1, 2021, the Court authorizes Plaintiff to file a motion to

compel production of the coverage terms, provided Plaintiff must file the motion on or

before April 15, 2021.
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                                        NOTICE

      Any objections to this Order shall be filed in accordance with Federal Rule of Civil
Procedure 72.

                                                /s/ John C. Nivison
                                                U.S. Magistrate Judge

Dated this 21st day of January, 2021.




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